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                                                                          4
                                                                              Attorneys for Defendants
                                                                          5   Attorney Search Network, Inc. and Jake Baloian
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                                                                                            UNITED STATES DISTRICT COURT FOR THE
                                                                          8
                                                                                                SOUTHERN DISTRICT OF CALIFORNIA
                                                                          9
                                                                         10
                                                                                                                    )
                                                                         11   AYNUR BAGHIRZADE, an individual,      )          Case No. 24CV1077 RSH MMP
                                                                                                                    )
                                                                         12                             Plaintiff,  )          [Assigned to Hon. Robert S. Huie;
                                                                                                                    )          Action filed on August 15, 2024]
                                                                         13          vs.                            )
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                     Beverly Hills, California 90210
                     9301 Wilshire Blvd., Suite 609




                                                                                                                    )          Defendants Attorney Search
                                                                         14   ARMENIAN NATIONAL                     )          Network, Inc.’s and Jake
                                                       (310) 394-1420




                                                                              COMMITTEE OF AMERICA, a Non - )                  Baloian’s Memorandum of Points
                                                                         15   Profit Corporation; ARAM              )          and Authorities in Support of
                                                                              HAMPARIAN, an individual;             )          Motion to Dismiss
                                                                         16   ARMENIAN NATIONAL                     )
                                                                              COMMITTEE OF AMERICA                  )
                                                                         17   WESTERN REGION, a California          )
                                                                              Nonprofit Public Benefit Corporation; )          Date: November 4, 2024
                                                                         18   ARMEN SAHAKYAN, an individual;        )
                                                                              YELP Inc., a Delaware Stock           )          Place: Courtroom 3B: Edward J
                                                                         19   Corporation; JEREMY STOPPELMAN, )                      Shwartz United States
                                                                              an individual; GOOGLE LLC., a         )                Courthouse
                                                                         20   Delaware Limited Liability Company;   )
                                                                              APLHABET Inc., a Delaware Stock       )
                                                                         21   Corporation; ORANGE COUNTY BAR )
                                                                              ASSOCIATION, a California Nonprofit )
                                                                         22   Mutual Benefit Corporation; TRUDY     )
                                                                              LEVINDOFSKE, an individual;           )
                                                                         23   TERESA VUKI, an individual; LOS       )
                                                                              ANGELES COUNTY BAR                    )
                                                                         24   ASSOCIATION, a California Nonprofit )
                                                                              Mutual Benefit Corporation; SETH      )
                                                                         25   CHAVEZ, an individual; COCO SU, an )
                                                                              individual; ATTORNEY SEARCH           )
                                                                         26   NETWORK, a California Stock           )
                                                                              Corporation; JAKE BALOIAN, an         )
                                                                         27   individual; Nolo, a California Stock  )
                                                                              Corporation; MH SUB I, LLC, a         )
                                                                         28   Delaware Limited Liability Company;   )
                                                                              LEGALMATCH CALIFORNIA, a              )
                                                                                                                             i
                                                                                Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
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                                                                          1   Domestic Corporation; ESTRELLA             )
                                                                              SANCHEZ, an individual; DOES 1             )
                                                                          2   THROUGH 300, inclusive                     )
                                                                                                                         )
                                                                          3                             Defendants       )
                                                                                                                         )
                                                                          4   __________________________________________ )

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                                                                                                     Memorandum of Points and Authorities
                                                                          1
                                                                          2
                                                                              I.       INTRODUCTION
                                                                          3
                                                                                       Plaintiff Aynur Baghirzade is a lawyer originally from Azerbaijan who
                                                                          4
                                                                              joined Defendant Attorney Search Network (“ASN”), a State Bar certified referral
                                                                          5
                                                                              service, in 2023 to get clients. The ASN membership agreement that Ms.
                                                                          6
                                                                              Baghirzade signed provides, inter alia, that all disputes between her and ASN
                                                                          7
                                                                              will be arbitrated with JAMS in Los Angeles, California.
                                                                          8
                                                                                       About 18 months later, Ms. Baghirzade sued ASN and its executive
                                                                          9
                                                                              director Jake Baloian in this lawsuit. The Supreme Court and 9th Circuit case law
                                                                         10
                                                                              provides that arbitration agreements similar to the one here are enforceable even
                                                                         11
                                                                              when RICO or other statutory/tort claims are alleged so long as the defendants
                                                                         12
                                                                              invoke them promptly.
                                                                         13
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                                                                                       In addition and in the alternative, Ms. Baghirzade’s complaint fails to state
                                                                         14
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                                                                              a cause of action as to ASN and Mr. Baloian because her claims against them boil
                                                                         15
                                                                              down to conclusions arising from (a) her dissatisfaction with certain referrals she
                                                                         16
                                                                              received, (b) the fact that Mr. Baloian is of Armenian ancestry, and (c) there is
                                                                         17
                                                                              historical conflict between Armenia and Azerbaijan. From this, Ms. Baghirzade
                                                                         18
                                                                              has alleged – with either conclusions or unreasonable inferences – a vast political
                                                                         19
                                                                              conspiracy based on the fact that some Armenians in the world are hostile to
                                                                         20
                                                                              people from Azerbaijan. Such allegations fail the “plausibility test” that the
                                                                         21
                                                                              Supreme Court has established for stating a cause of action. It also lacks the
                                                                         22
                                                                              necessary specificity for asserting claims grounded in fraud, which is true for
                                                                         23
                                                                              some of Ms. Baghirzade’s claims.
                                                                         24
                                                                                       Notably, the ASN Defendants conferred with Ms. Baghirzade about these
                                                                         25
                                                                              pleading/jurisdiction defenses at length via letter, email, and phone. Ms.
                                                                         26
                                                                              Baghirzade agreed multiple times to research these issues and advise if she would
                                                                         27
                                                                              stipulate to either arbitration or amending her complaint. After initially saying
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                                                                                   Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
                                                                                                         Authorities in Support
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                                                                              that she had not done the promised research because she was busy and
                                                                          1
                                                                              overwhelmed researching issues that defendants Google and Yelp had raised, Ms.
                                                                          2
                                                                              Baghirzade failed to keep a scheduled September 23, 2024 meeting and then
                                                                          3
                                                                              never responded to email follow-ups. (See the Declaration of Jeffrey W. Cowan
                                                                          4
                                                                              filed concurrently).
                                                                          5
                                                                                       Ms. Baghirzade also failed to honor an agreement to provide proof that
                                                                          6
                                                                              sub-service had been effected on Mr. Baloian. (Cowan Decl., ¶¶ 5 & 9, and Ex. 5
                                                                          7
                                                                              and 6).
                                                                          8
                                                                                       Accordingly, the ASN Defendants had no choice but to file this motion to
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                                                                              dismiss, which they respectfully submit the Court should do based on settled law.
                                                                         10
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                                                                         12
                                                                              II.      THE COURT SHOULD DISMISS THE ACTION PURSUANT TO
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                                                                                       THE PARTIES’ ENFORCEABLE ARBITRATION AGREEMENT.
                                                                         14
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                                                                                       First and most importantly, the Court should dismiss the complaint
                                                                         15
                                                                              (without prejudice) as to ASN and Mr. Baloian because the arbitration terms that
                                                                         16
                                                                              Ms. Baghirzade agreed to divested the Court of jurisdiction while also making
                                                                         17
                                                                              venue improper.
                                                                         18
                                                                              A.       The Broad Language of Ms. Baghirzade’s Agreement to Arbitrate in Los
                                                                         19
                                                                                       Angeles Claims With ASN.
                                                                         20
                                                                                       Paragraph 12 of the agreement provides that all disputes arising from
                                                                         21
                                                                              membership with ASN and the referrals it provides must be arbitrated:
                                                                         22
                                                                                              “The Service and the Member shall submit any dispute
                                                                         23
                                                                                              between themselves, including disputes regarding fees
                                                                         24
                                                                                              owed to the Service, regardless of when the dispute
                                                                         25
                                                                                              arises, to binding arbitration by JAMS/Endispute, or
                                                                         26
                                                                                              such other independent arbitration service. The
                                                                         27
                                                                                              claimant first filing for arbitration shall select the
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                                                                                   Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
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                                                                                                independent arbitration service provided in this
                                                                          1
                                                                                                Agreement, arbitration will be conducted according to
                                                                          2
                                                                                                the rules and regulations of the arbitration service
                                                                          3
                                                                                                provider.”
                                                                          4
                                                                                       (Baloian Declaration, Ex. 1)
                                                                          5
                                                                                       In addition, ¶ 18 of the Agreement requires that all arbitrations (or other
                                                                          6
                                                                              actions) be adjudicated in Los Angeles (where ASN is based):
                                                                          7
                                                                                       “This agreement shall be governed by and construed in accordance with the
                                                                          8
                                                                                       laws of the State of California. Any arbitration proceeding and/or other any
                                                                          9
                                                                                       other action arising out of this Agreement shall take place in Los Angeles
                                                                         10
                                                                                       County, California.”
                                                                         11
                                                                                       (Baloian Declaration, Ex. 1)
                                                                         12
                                                                                       Ms. Baghirzade did not dispute during meet-and-confer efforts that she accepted
                                                                         13
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                                                                              these terms in her ASN membership agreement. (Cowan Decl., ¶ 3, p. 7 of Ex. 3).
                                                                         14
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                                                                              B.       The Federal Arbitration Act Requires Compliance with Valid Arbitration
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                                                                                       Agreements
                                                                         16
                                                                                       The Federal Arbitration Act (Title 9 of the United States Code) generally provides
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                                                                              that all agreements to arbitrate business disputes such as here are enforceable. Section 2 of
                                                                         18
                                                                              the Act states:
                                                                         19
                                                                                       “A written provision in any maritime transaction or a contract evidencing a
                                                                         20
                                                                                       transaction involving commerce to settle by arbitration a controversy
                                                                         21
                                                                                       thereafter arising out of such contract or transaction, or the refusal to perform
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                                                                                       the whole or any part thereof, or an agreement in writing to submit to
                                                                         23
                                                                                       arbitration an existing controversy arising out of such a contract, transaction,
                                                                         24
                                                                                       or refusal, shall be valid, irrevocable, and enforceable, save upon such
                                                                         25
                                                                                       grounds as exist at law or in equity for the revocation of any contract.”
                                                                         26
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                                                                                   Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
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                                                                             C.       The Courts Routinely Enforce Arbitration Agreements
                                                                         1
                                                                                      The federal courts have consistently held that broadly drafted commercial
                                                                         2
                                                                             arbitration agreements that encompass all disputes arising between parties are enforceable.
                                                                         3
                                                                             See, e.g., Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1022 (9th Cir. 2016); Uptown Drug
                                                                         4
                                                                             Company, Inc. v. CVS Caremark Corporation, 962 F.Supp.2d 1172, 1186-1187 (N.D. Cal
                                                                         5
                                                                             2013) (enforcing agreement that requires arbitration of “any and all disputes” arising in
                                                                         6
                                                                             connection with or from the parties’ agreement).
                                                                         7
                                                                                      The U.S. Supreme Court has also held that a party may move/petition the Court to
                                                                         8
                                                                             enforce an arbitration agreement. Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218
                                                                         9
                                                                             (1985) (“the FAA “mandates that district courts shall direct the parties to proceed to
                                                                        10
                                                                             arbitration on issues as to which an arbitration agreement has been signed.”)
                                                                        11
                                                                                      The courts have also held consistently that doubts about the scope of arbitrable
                                                                        12
                                                                             issues are to be resolved in favor of arbitration. See, e.g., Ferguson v. Corinthian Colls.,
                                                                        13
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                                                                             Inc., 733 F.3d 928, 938 (9th Cir. 2013).
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                                                                             D.       Civil Claims for RICO or Other Statutory Torts Are Subject to Arbitration if Within
                                                                        15
                                                                                      the Scope of the Subject Agreement
                                                                        16
                                                                                      This rule applies to all civil claims, whether arising from common law or statute.
                                                                        17
                                                                             For example and most relevant here, the U.S. Supreme Court has held that civil RICO
                                                                        18
                                                                             claims as a general matter should be arbitrated if they fall within the scope of an arbitration
                                                                        19
                                                                             agreement. PacifiCare Health Systems, Inc. v. Book, 538 U.S. 401, 407 (2003). Its
                                                                        20
                                                                             holding is consistent with 9th Circuit precedent. See, e.g., Van Ness Townhouses v. Mar
                                                                        21
                                                                             Industries Corp., 862 F.2d 754, 758 (9th Cir. 1988) (“the appellants’ civil RICO and
                                                                        22
                                                                             pendent state law claims are arbitrable as controversies “arising out of or relating to” their
                                                                        23
                                                                             accounts. . .”)
                                                                        24
                                                                                      Likewise, and contrary to Ms. Baghirzade’s informal arguments, courts routinely
                                                                        25
                                                                             hold that other statutory tort claims may be compelled to arbitration if they are related to
                                                                        26
                                                                             the contract between the parties. See, e.g., Cayanan v. Citi Holdings, Inc., 928 F.Supp. 2d
                                                                        27
                                                                             1182 , 1207-12-8 (“while TCPA claims are statutory tort claims, such claims are not
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                                                                                  Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
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                                                                             inherently un-arbitrable and may be subject to arbitration. . . Defendants’ alleged conduct
                                                                         1
                                                                             in this case is directly related to Plaintiffs’ accounts and the contracts that govern them”);
                                                                         2
                                                                                      Here, Ms. Baghirzade’s claims against ASN and its executive director Mr. Baloian
                                                                         3
                                                                             all arise from and relate to her membership agreement and the client referrals she wanted
                                                                         4
                                                                             ASN to give her. [Because Mr. Baloian has been sued individually only in conjunction
                                                                         5
                                                                             with his actions as ASN’s executive director (Complaint ¶ 17), he either falls within the
                                                                         6
                                                                             scope of the arbitration agreement or is a 3rd party beneficiary given that entities act only
                                                                         7
                                                                             through their human employees/agents.] Accordingly, the agreement to arbitrate is
                                                                         8
                                                                             enforceable pursuant to the foregoing authorities; and the action should be dismissed
                                                                         9
                                                                             without prejudice (or at minimum stayed while ordering arbitration) given that jurisdiction
                                                                        10
                                                                             and venue are both wanting based on Ms. Baghirzade’s covenants with ASN.
                                                                        11
                                                                        12
                                                                             III.     IN THE ALTERNATIVE, IF THE COURT DECLINES TO ENFORCE
                                                                        13
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                                                                                      THE ARBITRATION AGREEMENT, IT SHOULD GRANT THE
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                                                                                      MOTION TO DISMISS AS TO THESE DEFENDANTS BECAUSE THE
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                                                                                      COMPLAINT FAILS TO SATISFY THE PLAUSIBILITY STANDARD.
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                                                                                     Although Mr. Baloian and ASN respectfully submit that the Court should dismiss
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                                                                             the complaint as to them (without prejudice) pursuant to the applicable arbitration and
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                                                                             forum clause, they also respectfully contend in the alternative that the Court should dismiss
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                                                                             the complaint because it lacks the facts necessary to satisfy the “plausibility standard”
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                                                                             required to state a cause of action.
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                                                                             A.      The “Plausibility” Standard for Stating a Cause of Action
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                                                                                     The U.S. Supreme Court has held that notwithstanding the F.R.C.P.’s “notice”
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                                                                             pleading requirements, a complaint must include enough facts (as opposed to mere
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                                                                             conclusions) to make its allegations “plausible.” Ashcroft v. Iqbal, 556 U.S. 662, 678
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                                                                             (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). See also Gerbery v. Wells
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                                                                             Fargo Bank, 2013 WL 3946065 (C.D. CA 2013) (citing Ashcroft v. Iqbal and Bell Atl
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                                                                             Corp v. Twombly).
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                                                                                  Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
                                                                                                        Authorities in Support
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                                                                                     Plus, more detail is needed when a cause of action rests on allegations of fraud. See,
                                                                         1
                                                                             e.g., F.R.C.P. Rule 9(b) (“ In alleging fraud or mistake, a party must state with particularity
                                                                         2
                                                                             the circumstances constituting fraud or mistake.”)
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                                                                             B.      The Complaint Lacks Facts Establishing Plausibility or Needed Specificity
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                                                                                     Here, the complaint fails to meet these standards.
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                                                                                     For example, it initially alleges that Ms. Baghirzade is a citizen of Azerbaijan (¶ 26)
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                                                                             who has a green card and practices law in the California (¶¶ 1 and 26). Fair enough.
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                                                                                     1.     Broad conspiracy allegations
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                                                                                     The complaint then alleges, however, that Ms. Baghirzade is the victim of a vast
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                                                                             conspiracy by the named defendants and other persons to harass and smear her (see, e.g., ¶¶
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                                                                             80-83), personally and professionally just because (a) the nation of Azerbaijan has a 200
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                                                                             year history of conflict with Armenia (¶ 28) and (b) Ms. Baghirzade is Azerbaijanian.
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                                                                             According to the complaint, this alleged campaign of unlawful harassment includes not
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                                                                             only actions by Armenian political organizations but also State Bar certified referral
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                                                                             services that the Los Angeles County Bar and Orange County bar operate, as well as ASN
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                                                                             and Legal Match.
                                                                        16
                                                                                     2.     Blaming a cockroach in Plaintiff’s home on ASN and Mr. Baloian.
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                                                                                     These and other allegations are per se deficient for showing plausibility or
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                                                                             proximate causation to anything that ASN has done. For example, ¶ 129 alleges that Ms.
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                                                                             Baghirzade joined ASN on around February 13, 2023 while ¶¶ ¶ 130-132 allege that she
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                                                                             began receiving referrals with which she was dissatisfied (with one sounding like a person
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                                                                             also referred to her by another referral service).
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                                                                                     The complaint then alleges (¶ 133) that after ASN requested Ms. Baghirzade’s new
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                                                                             address in San Diego (to which she had moved from Orange County), she found a
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                                                                             “damaged” cockroach in her apartment that died soon thereafter, that it is “common” for
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                                                                             Armenians to compare Azerbaijanis and that she had suffered such slurs on Twitter, and
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                                                                             that ASN’s director is “Armenian.” (¶ 133, p. 32, lines 3-15). In other words, the
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                                                                             complaint alleges not only a conspiracy to plant cockroaches in Plaintiff’s home because
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                                                                                  Defendants Attorney Search Network, Inc.’s and Jake Baloian’s Memorandum of Points and
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                                                                             she is from Azerbaijan but also a motive and intent to do so by ASN because its executive
                                                                         1
                                                                             director has an Armenian last name. Such allegations (and all resulting inferences) are – at
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                                                                             best – implausible.
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                                                                                    3.     Unsupported allegations that ASN and Mr. Baloian (and all other defendants)
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                                                                                           were collaborating to ruin Ms. Baghirzade’s career.
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                                                                                    Plaintiff Baghirzade then alleges (¶ 143-144) that poor quality or inapplicable
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                                                                             referrals of prospective legal clients is part of a scheme or conspiracy to harm her
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                                                                             financially and professionally and cause her to leave the United States. Paragraph ¶ 144,
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                                                                             the final introductory paragraph that is incorporated into each cause of action, states the
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                                                                             following in its final dependent clause:
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                                                                                           “. . . , and generally all DEFENDANTS in their joint efforts act
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                                                                                           as a big Armenian Enterprise to do everything to ruin he life,
                                                                        12
                                                                                           her career and her income.”
                                                                        13
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                                                                             (Complaint p. 35, lines 16-17)
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                                                                                    The allegations in the specific causes of action add no facts that have a scintilla of
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                                                                             plausibility. Instead there are just conclusions.
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                                                                                    For example, ¶ 150 of the complaint alleges with no details that Mr. Baloian was
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                                                                             part of a RICO conspiracy to send Ms. Baghirzade “fake referrals, referrals to harass her, to
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                                                                             leave her with no business and generally to affect her business and income.” Left unsaid is
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                                                                             why Mr. Baloian (through his employer ASN) would do so after having accepted Ms.
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                                                                             Baghirzade into the ASN referral network. The fact that his last name is of Armenian
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                                                                             origin cannot alone be enough. [And in fact, accepting Ms. Baghirzade into ASN
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                                                                             precludes any inferences – at least without compelling specific evidence – pursuant to the
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                                                                             “same actor rule” that the person who approved her would then turn around and promptly
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                                                                             discriminate against her. See, e.g., Bradley v. Harcourt, Brace and Co., 104 F.3d 267,
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                                                                             270-271 (9th Cir. 1996).
                                                                        26
                                                                                    Paragraph 160 (which is part of the 2nd cause of action), alleges that Mr. Baloian was
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                                                                             one of several persons “responsible for fair distribution of the referrals they’ve received,
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                                                                             and they did it with commission of multiple acts of wire & mail fraud.” There are no
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                                                                             alleged facts, however, showing what Mr. Baloian did as ASN’s executive director that
                                                                         2
                                                                             could constitute wire or mail fraud. (or even what “fair” means in the context of these
                                                                         3
                                                                             causes of action) The same is true for each of the other causes of action.
                                                                         4
                                                                                      A similar analysis applies for each cause of action. Each lacks facts establishing
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                                                                             plausibility or with the specificity needed to put one on notice.
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                                                                                      Last, the absence of specifics is fatal because the complaint alleges that the subject
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                                                                             alleged harms are part of fraudulent business practices (See, e.g., Complaint ¶ 212).
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                                                                                      For all of these reasons, the Complaint fails to state a cause of action against ASN
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                                                                             and Mr. Baloian and should be dismissed.
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                                                                             IV.      CONCLUSION
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                                                                                      In the United States, a person is not liable for crimes or civil wrongs because of
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                                                                             protected or immutable characteristics alone – including the national origin of one’s name.
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                                                                                      Ms. Baghirzade agreed to arbitrate all claims in Los Angeles, and in any event none
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                                                                             of her causes of action are plausible as to ASN and Mr. Baloian because they assert only (a)
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                                                                             conclusions and (b) racist inferences arising from the last name of Mr. Baloian. They also
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                                                                             lack the necessary facts to establish plausibility or otherwise state a cause of action.
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                                                                                      For the reason set forth herein, Mr. Baloian and ASN respectfully submit that the
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                                                                             Court should grant their petition/motion and dismiss the complaint as to them.
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                                                                                                                                 Respectfully submitted,
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                                                                                                                                 THE COWAN LAW FIRM
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                                                                             DATED: September 30, 2024
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                                                                                                                          By:    ___Jeffrey W. Cowan ____________
                                                                        25                                                       Jeffrey W. Cowan
                                                                                                                                 Attorneys for Defendants Attorney
                                                                        26
                                                                                                                                 Search Network, Inc. and Jake Baloian
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